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 4
                               UNITED STATES DISTRICT COURT
 5                            EASTERN DISTRICT OF WASHINGTON
 6
       UNITED STATES OF AMERICA,                  )
 7                                                )    No. CR-09-015-EFS-22
                          Plaintiff,              )
 8                                                )    ORDER GRANTING UNOPPOSED
       v.                                         )    MOTION TO TEMPORARILY MODIFY
 9                                                )    RELEASE CONDITIONS
       JACOB D. SUBLIE                            )
10                                                )
                          Defendant.              )
11                                                )

12          As agreed upon by the parties,

13          IT    IS   ORDERED   that    the    Defendant’s       Unopposed    Motion     to

14    Temporarily Modify Release Conditions (Ct. Rec. 1711) is GRANTED.

15          The   Defendant      shall   be    allowed     to    travel   to   Vancouver,

16    Washington, on March 18, 2010, to trade in a vehicle.                     All other

17    conditions of release previously entered shall remain in full

18    effect.

19          DATED March 17, 2010.

20
21                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO
      TEMPORARILY MODIFY RELEASE CONDITIONS - 1
